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 4   Telephone: (916) 554-2751
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )         Mag. No. 2:09-mj-0358 EFB
                                    )
12                  Plaintiff,      )         STIPULATION AND
                                    )         ORDER CONTINUING
13             v.                   )         PRELIMINARY HEARING AND
                                    )         EXCLUDING TIME
14   DARREN BURTON, et al.,         )
                                    )
15                                  )
                    Defendants.     )
16   _______________________________)
17        IT IS HEREBY STIPULATED by and between Assistant United States
18   Attorney Jason Hitt, counsel for the plaintiff United States of
19   America, and defendant Darren BURTON, by and through his counsel
20   Michael Bigelow, Esq., that good cause exists to extend the
21   preliminary hearing currently set for December 28, 2009, at 2:00
22   p.m. to January 28, 2010, pursuant to Federal Rule of Criminal
23   Procedure 5.1(d).
24        Good cause exists to extend the time for the preliminary
25   hearing within meaning of Rule 5.1(d) because the government will be
26   providing discovery to the defense and the parties are engaged in
27   talks regarding a pre-indictment resolution of the case against the
28   defendant.   In addition, the co-defendant, Derek STAMPLEY, will

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 1   remain in state custody until approximately December 28, 2009, and
 2   therefore he has not been brought into federal custody on this case
 3   at this time.     As a result, the defendant agrees that a continuance
 4   of the preliminary hearing date will not prejudice him because a
 5   pre-indictment resolution could result in overall sentencing
 6   exposure that is significantly reduced for him.
 7           The parties further stipulate that the ends of justice are
 8   served by the Court excluding time from December 28, 2009, to
 9   January 28, 2010, so that counsel for the defendant may have
10   reasonable time necessary for effective preparation, taking into
11   account the exercise of due diligence.         18 U.S.C.
12   § 3161(h)(7)(B)(iv).      Specifically, the defense agrees that it needs
13   additional time to continue discussions with the government
14   regarding resolution of the case against the defendant, receiving
15   and then reviewing the discovery in the case, effectively evaluate
16   the posture of the case and potentially prepare for trial, and
17   conduct further investigation into mitigation of the defendant’s
18   federal sentencing exposure in this case.          Id.   For these reasons,
19   the defendant, defense counsel, and the government stipulate and
20   agree that the interests of justice served by granting this
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 1   continuance outweigh the best interests of the public and the
 2   defendant in a speedy trial.     18 U.S.C. § 3161(h)(7)(A); Local Code
 3   T4.
 4
 5   DATED: December 27, 2009                 /s/Jason Hitt
                                              JASON HITT
 6                                            Assistant U.S. Attorney
 7   DATED: December 27, 2009                 /s/Michael Bigelow by Jason Hitt
                                              MICHAEL BIGELOW, ESQ.
 8                                            Counsel for defendant Darren
                                              BURTON
 9                                            Authorized to sign for Mr.
                                              Bigelow on 12-14-09
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 1        Based upon the representations by counsel and the stipulation
 2   of the parties, IT IS HEREBY ORDERED that:
 3        1.   The Court finds good cause to extend the Preliminary
 4   Hearing currently set for December 28, 2009, to January 28, 2010, at
 5   2:00 p.m. pursuant to Federal Rule of Criminal Procedure 5.1(d);
 6        2.   Based upon the representations and stipulation of the
 7   parties, the court finds that the time exclusion under 18 U.S.C.
 8   18 U.S.C. § 3161(h)(7)(A) and Local Code T4 applies and the ends of
 9   justice outweigh the best interest of the public and the defendants
10   in a speedy trial based upon the factors set forth in 18 U.S.C.
11   § 3161(h)(7)(B)(iv).   Accordingly, time under the Speedy Trial Act
12   shall be excluded from December 28, 2009, up to and including
13   January 28, 2010.
14        IT IS SO ORDERED.
15   Dated: December 28, 2009.
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